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                         IN THE UNITED STATES DISTRICT COURT,
                                   DISTRICT OF UTAH




    UNITED STATES OF AMERICA,                            MEMORANDUM DECISION
                                                             AND ORDER
                         Plaintiff,
                                                            Case No. 2:03-cr-418 CW
    v.
                                                              Judge Clark Waddoups
    LORIE MICHELLE ALLGIER (McNeil),

                         Defendant.


         This matter is before the court on a Motion for Expungement. On February 19, 2004, Lorie

Michelle Allgier 1 was sentenced to nineteen-months imprisonment for possession of stolen mail.

Judgment, at 1 (ECF No. 76). Upon release, Ms. McNeil was placed on supervised release for

three years, where she continued to struggle with various issues. Since her supervised release

ended, this court has had no other case involving Ms. McNeil.

         In her motion, Ms. McNeil reports that she has found happiness in her life. She wants to

continue to progress and obtain better employment. Her conviction, however, has limited her

employment opportunities. She therefore requests that her record be expunged.

                                           ANALYSIS

         The Tenth Circuit Court of Appeals has held that district courts have “inherent equitable

powers” to grant a motion for expungement, but only in limited circumstances. United States v.




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  In her motion, the defendant uses the last name of McNeil. Accordingly, the court references
the defendant by that name in this decision.
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Trzaska, 781 F. App’x 697, 699–700 (10th Cir. 2019). The Tenth Court distinguishes between a

motion to expunge an arrest record versus “a motion to expunge records of criminal convictions.”

Id. at 700 (citation and emphasis omitted). “[I]n extreme circumstances, an arrest record may be

expunged after dismissal of the charges or acquittal.” United States v. Pinto, 1 F.3d 1069, 1070

(10th Cir. 1993) (citation omitted). Once a person has been convicted of a crime, however, the

Tenth Circuit permits expungement only if the “federal conviction . . . has, in some manner, been

invalidated” and an extreme circumstance has been shown to justify the expungement. Id.

        In Pinto, a defendant requested expungement after being convicted for “conspiracy to

defraud the United States and filing a false tax return.” Id. at 1069. The defendant requested

expungement because “her status as a convicted felon disrupted many aspects of her life, such as

preventing her from helping at her daughter’s liquor store.” Id. The district court denied her

motion and the Tenth Circuit affirmed because there was “no allegation that the conviction was in

any way improper.” Id. at 1070–71.

        Similarly, in this case, there is no challenge to Ms. McNeil’s conviction. Her conviction

has not been invalidated. Instead, Ms. McNeil requests expungement so she may obtain better

employment. The court understands Ms. McNeil’s desire and commends her for the progress she

has made. The court, however, lacks authority to grant the requested relief under established law.

The court therefore denies Ms. McNeil’s motion.

                                        CONCLUSION

        For the reasons stated above, the court DENIES the Motion for Expungement (ECF No.

116).




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    DATED this 25th day of May, 2021.


                                        BY THE COURT:


                                        ____________________________________
                                        Clark Waddoups
                                        United States District Court Judge




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